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September 18, 2020

                             IN THE UNITED STATES DISTRICT COURT                                                  FILED
                                                                                                             U.S. District Court
                                   DISTRICT OF KANSAS                                                            District of Kansas



UNITED STATES OF AMERICA       )                                                                            SEP 2 1 2020
            Plaintiff,   )   District Court
                         )   Case No.                                                               Cle~            District Court
                                                                                                    By              /(=      Deputy Clerlc
V.                       )   17-10142
                         )
BOGDANA ALEXANDROVNA MOBLEY )          Circuit Court
            Defendant.     )  Case No.
                         )    19-3122


                    EMERGENCY MOTION FOR IMMEDIATE RELEASE PENDING RESENTENCING .

COMES NOW, the Defendant, and respectfully submit the motion for an Order of immediate release of the Defendant, pending
resentencing due to:

~ 10th Circuit Court of Appeals Judgment Case No. 19-3122, dated August 21, 2020, acquitting the Defendant of two counts of
18 U.S.C. 875(b) and restitution of $18,000 .

~ 10th Circuit Court of Appeals issued mandate on September 14, 2020 and now this court has jurisdiction on this case .

~Defendant overstayed at the FBOP on count 1 of 18 U.S.C. 1204 for which this Court originally sentenced the Defendant to 36
months . Defendant served 35 .5 months and was awarded 5.5 months of good time credit, which brings it to 41 months that
Defendant served on a 36 months sentence (statutory maximum) .

~ Extraordinary and compelling circumstances of gto.bal historic pandemic of highly infectious deadly disease COVID-19 .

~Defendant's numerous medical conditions. Defendant is currently on the "list two inmates" (as medically vulnerable for COVID
-19) for the expedited home confinement review in class action lawsuit Martinez-Brooks v. Easter case No. 20-00569, 2020,
U.S.Dist LEXIS 83300, 2020 , WL 2405350 (D.Conn. May 12, 2020).

~Connecticut's health officials issued an alert on August 21, ·2020 of spike of COVID-19 cases in Danbury, CT where Defendant
is located . The alert was confirmed by the CT Governor, Ned Lamont.

~ unsafe unsanitary conditions in the FBOP's premises including quarantine quarters.

~ inability to practice social distance (most effective way per CDC to protect from the COVID-19) within the FBOP.

Defendant previously submitted to this court and requests to incorporate them to this motion following documents:

~ copy of guarantee letter on behalf on Defendant from the Embassy of Russian Federation Minister-Counselor Mr. Sergey
Trepelkov (August 4, 2020).
~copy of letter from Defendant's attorney in Russia Mr. Ivan Kuznetsov (August 9, 2020) with information that now per
Mr.Mobley attorney in Russia Mr. Alexey Volosyuk, Mr.Mobley states that minor children S.M and I.M should continue living in
Russia with Defendant.
~copy of letter from Mr. Mobley's third ex-wife about her divorce from Mr. Mobley, her thoughts about him and his "failure" as a
father to their two children.
~copies of Defendant's achievements in the FBOP.
=-copies of the recommendation letters on behalf of Defendant.
~copies of Defendant's medical records.
WHEREFORE, Defendant prays that the c;urt grants relief requested above ~nd order imm_ediate release of the Defendant
from the FBOP with quarantine in her step-father's home in Queens, NY pending resentencmg on the coun~ 1, that ~efe~d~nt .
already served statutory maximum of 35 .5 months, plus 5.5 m~re months was awarded the her as a good time credit, bringing it
l o total of41 months.                                                                  <=> 28882-031      <=>
                                                                                                  Bogdana Mobley
Respectfully submitted by,                                                                        33 1/2 Pembroke RD
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                                                                                                  D anb ury, CT 06811
                                                                                                  United States
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